Filed 06/15/15                                                               Case 15-12144                                                                              Doc 9



      Fill in this information to identify your case:

      Debtor 1                 Jackie Lynn Cullins                                                               Check if this is:
                                                                                                                     An amended filing
      Debtor 2                                                                                                             A supplement showing post-petition chapter
      (Spouse, if filing)                                                                                                  13 expenses as of the following date:

      United States Bankruptcy Court for the:   EASTERN DISTRICT OF CALIFORNIA                                             MM / DD / YYYY

      Case number           2015-12144                                                                                     A separate filing for Debtor 2 because Debtor
      (If known)                                                                                                           2 maintains a separate household



      Official Form B 6J
      Schedule J: Your Expenses                                                                                                                                   12/13
      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
      number (if known). Answer every question.

      Part 1:   Describe Your Household
      1. Is this a joint case?
                 No. Go to line 2.
                 Yes. Does Debtor 2 live in a separate household?
                            No
                            Yes. Debtor 2 must file a separate Schedule J.

      2.    Do you have dependents?               No
            Do not list Debtor 1 and              Yes.
                                                         Fill out this information for   Dependent’s relationship to          Dependent’s        Does dependent
            Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age                live with you?

            Do not state the                                                                                                                        No
            dependents' names.                                                           Son                                  14                    Yes
                                                                                                                                                    No
                                                                                         Daughter                             18                    Yes
                                                                                                                                                    No
                                                                                                                                                    Yes
                                                                                                                                                    No
                                                                                                                                                    Yes
      3.    Do your expenses include                     No
            expenses of people other than
            yourself and your dependents?                Yes

      Part 2:    Estimate Your Ongoing Monthly Expenses
      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
      expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
      applicable date.

      Include expenses paid for with non-cash government assistance if you know
      the value of such assistance and have included it on Schedule I: Your Income
      (Official Form 6I.)                                                                                                          Your expenses

      4.    The rental or home ownership expenses for your residence. Include first mortgage
            payments and any rent for the ground or lot.                                                          4. $                              1,300.00

            If not included in line 4:

            4a. Real estate taxes                                                                               4a.    $                                0.00
            4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                               50.00
            4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                               25.00
            4d. Homeowner’s association or condominium dues                                                     4d.    $                                0.00
      5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                0.00




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      Debtor 1     Jackie Lynn Cullins                                                                      Case number (if known)       2015-12144

      6.    Utilities:
            6a. Electricity, heat, natural gas                                                     6a. $                                                  0.00
            6b. Water, sewer, garbage collection                                                   6b. $                                                  0.00
            6c. Telephone, cell phone, Internet, satellite, and cable services                      6c. $                                               110.00
            6d. Other. Specify:                                                                    6d. $                                                  0.00
      7.    Food and housekeeping supplies                                                           7. $                                               450.00
      8.    Childcare and children’s education costs                                                 8. $                                                 0.00
      9.    Clothing, laundry, and dry cleaning                                                      9. $                                                75.00
      10.   Personal care products and services                                                    10. $                                                100.00
      11.   Medical and dental expenses                                                            11. $                                                 45.00
      12.   Transportation. Include gas, maintenance, bus or train fare.
            Do not include car payments.                                                           12. $                                                220.00
      13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                100.00
      14.   Charitable contributions and religious donations                                       14. $                                                  0.00
      15.   Insurance.
            Do not include insurance deducted from your pay or included in lines 4 or 20.
            15a. Life insurance                                                                   15a. $                                                  0.00
            15b. Health insurance                                                                 15b. $                                                  0.00
            15c. Vehicle insurance                                                                15c. $                                                120.00
            15d. Other insurance. Specify:                                                        15d. $                                                  0.00
      16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
            Specify: Taxes                                                                         16. $                                                  50.00
      17.   Installment or lease payments:
            17a. Car payments for Vehicle 1                                                       17a. $                                                329.89
            17b. Car payments for Vehicle 2                                                       17b. $                                                  0.00
            17c. Other. Specify:                                                                  17c. $                                                  0.00
            17d. Other. Specify:                                                                  17d. $                                                  0.00
      18.   Your payments of alimony, maintenance, and support that you did not report as
            deducted from your pay on line 5, Schedule I, Your Income (Official Form 6I).          18. $                                                   0.00
      19.   Other payments you make to support others who do not live with you.                         $                                                  0.00
            Specify:                                                                               19.
      20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
            20a. Mortgages on other property                                                      20a. $                                                  0.00
            20b. Real estate taxes                                                                20b. $                                                  0.00
            20c. Property, homeowner’s, or renter’s insurance                                     20c. $                                                  0.00
            20d. Maintenance, repair, and upkeep expenses                                         20d. $                                                  0.00
            20e. Homeowner’s association or condominium dues                                      20e. $                                                  0.00
      21.   Other: Specify:    Student Loan Payments                                               21. +$                                               200.00
            College Tuition                                                                             +$                                               80.00
      22. Your monthly expenses. Add lines 4 through 21.                                                          22.      $                       3,254.89
          The result is your monthly expenses.
      23. Calculate your monthly net income.
          23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               3,279.96
          23b. Copy your monthly expenses from line 22 above.                                                    23b. -$                              3,254.89

            23c. Subtract your monthly expenses from your monthly income.
                 The result is your monthly net income.                                                          23c. $                                   25.07

      24. Do you expect an increase or decrease in your expenses within the year after you file this form?
            For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
            modification to the terms of your mortgage?
              No.
              Yes.
            Explain:




      Official Form B 6J                                                 Schedule J: Your Expenses                                                       page 2
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                                                                  United States Bankruptcy Court
                                                                         Eastern District of California
     In re      Jackie Lynn Cullins                                                                              Case No.    2015-12144
                                                                                      Debtor(s)                  Chapter     7

                                                                         AMENDMENT COVER SHEET
    Amendment(s) to the following petition, list(s), schedule(s), or statement(s) are attached hereto:
       Petition                                                           Statement of Financial Affairs
       Creditor Matrix                                                    Statement of Intention
       List of 20 Largest Unsecured Creditors                             List of Equity Security Holders
       Schedules (check appropriate boxes). See Instruction #4 below.
           A      B    C      D     E      F        G     H     I      J
       Summary of Schedules (includes Statistical Summary of Certain Liabilities and Related Data)
       REQUIRED IF AMENDING SCHEDULE(S) A, B, D, E, F, I, OR J.

     Purpose of amendment (check one):
        To add pre-petition creditors, delete creditors, change amounts owed or classifications of debt ($30.00 fee required,
        provided the judge may, for good cause, waive the charge in any case.) NOTE: Lists, schedules and statements that
        add or change creditors must be accompanied by an amended matrix listing only the creditors added or changed.
        No pre-petition creditors were added, creditors deleted, or amounts owed or classifications of debt changed.
                                                       NOTICE OF AMENDMENT TO AFFECTED PARTIES
        Pursuant to Federal Rule of Bankruptcy Procedure 1009(a), I certify that notice of the filing of the amendment(s)
    checked above has been given this date to the Trustee in this case, and to any and all entities affected by the
    amendment, together with a copy of the notice of meeting of creditors, the discharge (if one has been entered), a
    subsequent notice to file claims (if one has been issued), and any other document affecting the rights of the added
    creditors. (NOTE: Proof of service, indicating that service has been made, must be filed with the Court.)
                                                                Attorney's [or Pro Se Debtor's]
     Dated:        June 8, 2015                                 Signature:                                     /s/ Michael J. Arnold
                                                                Printed Name:                                  Michael J. Arnold #270107
                                                                Mailing Address:                               1141 West Shaw Avenue, Suite 102
                                                                                                               Fresno, CA 93711
                                                                         DECLARATION BY DEBTOR
       I(We), the undersigned debtor(s), hereby declare under penalty of perjury that the information set forth in the
    amendment(s) attached hereto, consisting of    pages, is true and correct to the best of my(our) information and belief.
     Dated:        June 8, 2015                                                       Dated:
                   /s/ Jackie Lynn Cullins
                   Jackie Lynn Cullins
                   Debtor's Signature                                                             Joint Debtor's Signature
                                                                               INSTRUCTIONS
    1.    Use this cover sheet ONLY when filing amended petitions, lists, schedules and statements. Do not use an amendment cover sheet when
          submitting amended plans or amendments to plans.
    2.    Include the word "Amended" in the title of each amended document.
    3.    Amendments to property schedules (A and B), creditor schedules (D,E, and F), or income/expenses schedules (I and J) must be accompanied by
          an amended Summary of Schedules. Updates to the schedule totals will not be made unless the summary is filed.
    4.    Amendments to add creditors or change their names/addresses must consist of the amended schedule(s) with a notation to the right of the creditor
          entry of "A" if the creditor is being added or "C" if it is being changed. Failure to include "A" and "C" notations on amended schedules may
          result in duplicate or multiple listings on master mailing lists.
    5.    Amendments which add or change creditors must be accompanied by a separately filed amended matrix containing ONLY the additions/changes
          so that the creditors may be downloaded into the case. The matrix must not contain the "A" or "C" notations.
    6.    When e-Filing an amended matrix, you must submit two separate files: a PDF file containing the amendment cover sheet for the matrix, and a text
          file containing the creditors in the standard master address list format. These two files must be uploaded together.
    7.    Federal Rule of Bankruptcy Procedure 1009 requires the debtor to give notice of an amendment to the trustee and to any entity affected thereby.
          Notice of the amendment WILL NOT be given by the Clerk's Office. To comply with this requirement, the debtor's attorney or Pro Se debtor
          must give notice to the trustee and any entity affected by the amendment by serving all previous court notices including, but not limited to, the
          notice of meeting of creditors, discharge of debtor, etc. A proof of service, indicating that service has been made, must be filed with the court.
    8.    Checks and money orders should be payable to "Clerk, U.S. Bankruptcy Court." (NOTE: No personal checks will be accepted.)



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